                                                                   Case 6:21-bk-12821-SY           Doc 249 Filed 02/15/22 Entered 02/15/22 10:08:26                      Desc
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                                                                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                                                               Central District of California
                                                                    6 Counsel for Debtor                                                       BY Mason      DEPUTY CLERK
                                                                      Western Community Energy
                                                                    7
                                                                                                                                       CHANGES MADE BY COURT
                                                                    8

                                                                    9                               UNITED STATES BANKRUPTCY COURT

                                                                   10                  CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

                                                                   11 In re:                                                  Case No. 6:21-bk-12821-SY

                                                                   12 WESTERN COMMUNITY ENERGY,                               Chapter 9

                                                                   13                                    Debtor.              ORDER GRANTING MOTION TO
                                                                                                                              APPROVE SETTLEMENT BETWEEN
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                                                                   14                                                         DEBTOR AND SOUTHERN CALIFORNIA
                         T el 714-966- 1000 F ax 714 - 966-1002




                                                                                                                              EDISON UNDER FEDERAL RULE OF
                            650 T own Center Dr ive, Su ite 6 00
                              Costa M esa, Cal iforn ia 92 626




                                                                   15                                                         BANKRUPTCY PROCEDURE 9019

                                                                   16                                                         Hearing:
                                                                                                                              Date:    February 10, 2022
                                                                   17                                                         Time: 1:30 p.m.
                                                                                                                              Place: 3420 Twelfth Street
                                                                   18
                                                                                                                                       Courtroom 302
                                                                   19                                                                  Riverside, CA 92501

                                                                   20           Upon consideration of the Motion for Order Approving Settlement Between Debtor
                                                                   21 and Southern California Edison Pursuant to Federal Rule of Bankruptcy Procedure 9019

                                                                   22 [Dkt. 243] (“Motion”) filed by Western Community Energy (“Debtor”) seeking court

                                                                   23 approval of the Agreement 1 under Rule 9019 of the Federal Rules of Bankruptcy

                                                                   24 Procedure, and upon all other documentation filed in connection with the Motion and the

                                                                   25 Agreement, and upon the record in this case, all judicially noticeable facts and all
                                                                   26

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                                                                          1
                                                                              Capitalized terms shall have their respective meanings ascribed to such terms in the Motion and the
                                                                   28 Agreement.
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                                                                    1 evidence, arguments, and representations made at or prior to the hearing on the Motion,

                                                                    2 and adequate notice of the Motion having been given, and it appearing that no other or

                                                                    3 further notice is required, and no objections having been filed, and sufficient cause

                                                                    4 appearing therefor;
                                                                    5         IT IS HEREBY ORDERED:

                                                                    6         1.     The Motion is granted;

                                                                    7         2.     The terms of the Agreement, a copy of which is attached to the Motion as

                                                                    8 Exhibit 16, are approved and the Debtor is authorized to enter into the Agreement;

                                                                    9         3.     The Debtor is authorized to execute any documents or take any actions

                                                                   10 reasonably necessary to effectuate the terms of the Agreement;

                                                                   11         4.     The Debtor is authorized to use funds in the RCB Lockbox Account to

                                                                   12 perform the obligations in the Agreement;

                                                                   13         5.     The transfer of the funds in the RCB Lockbox Account and the Debtor’s
Weiland Golden Goodrich LLP




                                                                   14 accounts receivable (aka customer remittances) to SCE is free and clear of all liens,
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                            650 T own Center Dr ive, Su ite 6 00
                              Costa M esa, Cal iforn ia 92 626




                                                                   15 claims, encumbrances, and interest;

                                                                   16         6.     Prior orders of the court are modified as necessary to enable performance of

                                                                   17 the Agreement;

                                                                   18         7.     This order is effective immediately upon entry;

                                                                   19         8.     This court retains exclusive jurisdiction with respect to all matters arising

                                                                   20 from or related to implementation of this order; and

                                                                   21         9.     Consistent with the Agreement, neither this order nor the Agreement shall

                                                                   22 affect the exercise of regulatory authority by California Public Utilities Commission in

                                                                   23 respect of SCE.

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                                                                        Date: February 15, 2022
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